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                                                                Tuesday, 01 September, 2020 05:50:04 PM
                                                                             Clerk, U.S. District Court, ILCD

                             UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS
                                    PEORIA DIVISION

MAVIDEA TECHNOLOGY                          )
GROUP, LLC                                  )
                                            )
                Plaintiff,                  )
                                            )
v.                                          )       Case No.       1:20-CV-1139
                                            )
JAMIE WARMBIR; CHARLOTTE                    )
WARMBIR; WARMBIR IT                         )
SOLUTIONS, LLC, an Illinois limited         )
liability company;                          )       JURY TRIAL REQUESTED
                                            )
                Defendants.                 )




            RESPONSE AND MEMORANDUM OF LAW TO DEFENDANT’S
                  MOTION TO DISMISS COUNTS VIII AND IX


       NOW COMES the Plaintiff, MAVIDEA TECHNOLOGY GROUP, LLC, by and through

its counsel, Bartell Powell LLP, for its Memorandum of Law in Support of Plaintiff’s Response

to Defendant’s Motion to Dismiss Counts VIII and IX, respectfully states to the Court as follows:

       A. Count VIII properly states a claim for violation of the Illinois Cable Piracy Act

(ICPA).

       Plaintiff alleges in paragraph 132 that Mr. Warmbir violated 120 ILCS 5/16-18(a)(6)(E),

which states:

       “(a.) Injury to wires or obtaining service with intent to defraud. A person commits injury
       to wires or obtaining service with intent to defraud when he or she knowingly:

       (6) obtains, or attempts to obtain, any telecommunications service with the intent to
       deprive any person of the lawful charge, in whole or in part, for any telecommunications
       service:
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        (E) by any other trick, stratagem, impersonation, false pretense, false representation, false
        statement, contrivance, device, or means.”


        Defendant argues that the ICPA’s definition of “Communication service” and

“Communication service provider” suggest that there is no violation of the ICPA because

Plaintiff has not and cannot allege that (1) Plaintiff is a communications service provider within

the meaning of the ICPA and (2) Plaintiff’s telephone was a communications service within the

meaning of the ICPA or that (3) Warmbir attempted to deprive Plaintiff of the lawful charge for

a telecommunications service.

        However, in this context, the statute cited by the Defendant states clearly that the

violation occurs against anyone who “obtains, or attempts to obtain, any telecommunications

service” (emphasis added) and not Communication service. “Telecommunications service” is

not defined. “Telecommunications” is simply defined in Merriam-Webster dictionary as

“communication at a distance.” The definition of “communication service” cited by the

Defendant in the statute under 720 ILCS 5/16.01 holds that it includes service “… of any nature

by telephone, including cellular telephones … and also any service lawfully provided by any

radio, telephone…” Given that the Plaintiff complains about the Defendant taking its cellular

phone and service, Plaintiff’s Amended Complaint clearly satisfies the statute in terms of the

subject matter that the statute pertains to.

        The Defendant seems to suggest that the Plaintiff has the burden of showing that the

Plaintiff is a “Communications Service Provider” within the meaning of the ICPA. The Plaintiff

sees no statutory language that requires it to do so. Although it is a defined term in the statute,

the term is not used in the portion of the statute that Plaintiff cites to in its Amended Complaint.

In fact, the statute makes clear that it is only acts complained of under 720 ILCS 5/16-18(b), not
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720 ILCS 5/16-18(a) that pertain to communication service providers (ie. 720 ILCS 5/16-

18(b)(1) which makes it unlawful when a person “(1) obtains or uses a communication service

without the authorization of, or compensation paid to, the communication service provider.”

Additionally, the statute does not require the person bringing the claim to be a “Communications

Service Provider.”

       B. Count IX properly states a claim for violation of the RICO Act.

       The Defendant states that “A pattern of racketeering activity consists of at least two

predicate acts of racketeering committed within a ten year period,” citing Midwest Grinding Co.

v. Spitz, 976 F.2d 1016, 1019 (7th Cir. 1992). Defendant also states that the Plaintiff must allege

a “pattern of racketeering activity,” and that the predicate acts must be related to one another (the

relationship prong) and pose a threat of continued criminal activity (the continuity prong). Id.

Defendant suggests that Plaintiff does not provide specific allegations identifying whether

Warmbir’s alleged “pattern of racketeering activity” represents a closed or open-ended scheme.

The Plaintiff disagrees and believes it has sufficiently plead the facts concerning an open-ended

scheme.

       First, there is not a case that states the Plaintiff must identify whether a scheme is

“closed” or “open.” The Seventh Circuit balances six factors identified in Morgan v. Bank of

Waukegan, where the length of time the scheme took place is one of those factors. Morgan vs.

Bank of Waukegan, 804 F.2d 970 (7th Cir. 1986). “Neither the presence or absence of any one of

these factors is determinative” in the Seventh Circuit. Uniroyal Goodrich Tire Co. v. Mutual

Trading Corp. 63 F.3d 516, 524 (7th Cir. 1995). A litigant can maintain a RICO claim arising

from acts occurring over only a short period of time “so long as there is a threat that conduct will

recur in the future.” Corley v. Rosewood Care Center, Inc. 142 F.3d 1041 (7th Cir. 1998). Such
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threat exists when 1) a specific threat of repetition exists, 2) the predicates are a regular way of

conducting an ongoing legitimate business, or 3) the predicates can be attributed to a defendant

operating as part of a long-term association that exists for criminal purposes. Vicom, Inc. v.

Harbridge Merchant Services, Inc., 20 F.3d 771 (7th Cir. 1994). In this case, Paragraph 39 of

Plaintiff’s Amended Complaint clearly identifies this as an ongoing scheme:

       39) On February 10, 2020 Jamie Warmbir set his plan into action, relinquishing his
       authority to act as a manager/agent of Mavidea. He informed the remaining managers
       that they had the next four business days to either 1) sell the IT Division to him for the
       price that he demanded, or 2) that he would take the customers and employees without
       paying them anything for it. He informed them that his new competing business was
       ready to service customers immediately after any denial to sell it to him at his price.

The threat of taking the customers and the employees without paying the Plaintiff for them was a

specific threat that repetitive actions would be implemented. The only way that it would be

possible to take all of the employees and all of the customers of the IT department would be to

take the customer lists and the confidential contracts of Mavidea and utilize the trade secrets they

contained, one by one. Each contract was a separate trade secret that required contacting

separate parties and interfering into a separate relationship. Each contact was subject to a

separate non-disclosure agreement that was contained within the contract with each customer.

The rates, timeline, and work to be performed was also different with each customer.

       In Paragraph 41, the Plaintiff asserts that Mr. Warmbir did an act that is the subject of

Count VIII and is includable as a predicate act:

       41) After learning that the Company wanted his phone and phone number back, he
       secretly contacted Verizon and posed as an Agent/Manager of Mavidea, even though he
       had already resigned such authority. He requested that Verizon transfer the telephone
       number from the account that Mavidea owned to a personal account that only he was in
       control of.

       Paragraph 45 sets forth the scheme that was used for enticing each employee by using

Mavidea’s trade secrets:
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       45) Jamie Warmbir created a scheme whereby he would create positions at his new
       company for each of the employees of the Mavidea IT Department, with the exception of
       one individual who was retiring. For each of the positions, Jamie Warmbir would create
       a job description that was tailored specifically for the employee he was trying to move
       over to his company. Jamie Warmbir would then post a solicitation for that job in which
       each employee was then to “apply” for the position. However, these solicitations were
       merely a ruse to make it appear that a legitimate job search process was occurring, when
       in actuality Jamie Warmbir knew these posts were to specifically solicit the team that he
       supervised at Mavidea.

       Paragraphs 52, 53 and 55 detailed the actions taken with each customer

       52) Jamie Warmbir immediately upon opening his business undertook an effort, using
       the customer names, backgrounds, contract terms, pricing data and other customer
       information, to have Mavidea’s customers terminate their contracts with Mavidea and
       sign new contracts at his new venture. In order to encourage them to terminate their
       contract with Mavidea, he commonly used the pitch that the employees who knew how to
       service their account were now employed by him and that Mavidea no longer had the
       ability to effectively and efficiently provide them services.

       53) Within a few short weeks, Jamie Warmbir’s efforts had resulted in eleven contract
       terminations with Mavidea. In many cases, he provided them with a script they should
       use to terminate their contract with Mavidea and gave them specific advice on when and
       how they should terminate. Attached as Exhibit “C” and incorporated herein is one such
       dialogue where Jamie Warmbir recommended specific action based on their contract with
       Mavidea. The contracts that were terminated had been executed by Jamie Warmbir on
       behalf of Mavidea while he was a Manager.

       55) Jamie Warmbir immediately undertook an effort, using the prospective customer
       names, backgrounds, prospective pricing data and other customer information to have
       Mavidea’s prospective customers come to sign contracts with him instead of Mavidea.

       The Amended Complaint identifies that there were at least 11 separate instances of trade

secrets related to customers being taken (Amended Complaint ¶87), 5 separate instances of trade

secrets related to employees being taken (Amended Complaint ¶47, 49, 50), and 1 instance of

(Amended Complaint ¶41). Moreover, the assertion that the Defendant claimed that his actions

would continue until ALL of the customers and employees were taken suggests that the scheme

will continue until this court puts an end to it or when every last contract is taken as a trade secret
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and exploited for the Defendant’s benefit. Thus, clearly an open ended scheme has been alleged

and the RICO claim is proper.

                                            CONCLUSION

       WHEREFORE, for the reasons stated herein, the Defendant’s Motion to Dismiss should

be denied and for such other relief as this Court deems just and proper.



Dated: September 1, 2020                             Respectfully Submitted,


                                                     Bartell Powell LLP

                                                     /s/ Jason S. Bartell
                                                     Jason S. Bartell, a partner of the firm

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 1, 2020, I electronically filed the foregoing Response
and Memorandum to Defendant’s Motion to Dismiss with the Clerk of Court using the CM/ECF
system, which will send notification of such filing to the following attorneys:

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                                                           /s/ Jason S. Bartell
